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                IN THE UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK

HENDERSON CLARKE,                            )
                                             )
          Plaintiff,                         )
                                             )
               v.                            )
                                             )JURY TRIAL
DET. CAMILO R. ANTONINI, Badge No. D111;     )DEMANDED
DET. SGT. SEAN J. FEGAN, Badge No. DS001;    )
THE CITY OF MOUNT VERNON; P.O. PATRICK KING, )
Badge No. 2113; P.O. HOWARD, Badge No.       )
2163; POLICE COMMISSIONER SHAWN HARRIS;      )
POLICE COMMISSIONER GLENN SCOTT; COUNTY      )
OF WESTCHESTER; COMMISSIONER MARTIN J.       )
MCGLYNN; COMMISSIONER THOMAS A. GLEESON;     )
unidentified Westchester                     )
County Department of Public Service          )
Narcotics employees and officers;            )
and unidentified                             )
Mount Vernon Police Department employees     )
and officers,                                )
          Defendants.



     NOW COMES Plaintiff, HENDERSON CLARKE, and complaining of

DEFENDANTS CAMILO ANTONINI, SEAN J. FEGAN, THE CITY OF MOUNT

VERNON (hereinafter, “City”), PATRICK KING, P.O. HOWARD, POLICE

COMMISSIONER SHAWN HARRIS, POLICE COMMISSIONER GLENN SCOTT,

COMMISSIONER MARTIN J. MCGLYNN; COMMISSIONER THOMAS A. GLEESON;

THE COUNTY OF WESTCHESTER (hereinafter, “County”), UNKNOWN

WESTCHESTER COUNTY DEPARTMENT OF PUBLIC SAFETY NARCOTICS

EMPLOYEES AND OFFICERS; and UNKNOWN MOUNT VERNON POLICE

DEPARTMENT EMPLOYEES AND OFFICERS, alleges as follows:
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                             Introduction

     1.     On July 23, 2019, Henderson Clarke was falsely

arrested and charged with selling $100 worth of crack cocaine to

an undercover police officer in Mount Vernon, New York.          Mr.

Clarke did not commit this crime.      Indeed, he could not have

committed this crime because he was in North Carolina on July

26, 2017.   Despite his innocence, Mr. Clarke was falsely

arrested and maliciously prosecuted for this crime.         The charges

against Mr. Clarke were ultimately dismissed by the prosecution

because he was innocent.

     2.     Mr. Clarke’s wrongful arrest and prosecution were the

direct result of misconduct by each of the Defendants in this

action.   This lawsuit seeks redress for that misconduct.

     3.     What makes Mr. Clarke’s wrongful conviction

particularly disturbing is that it could have easily been

prevented, had Defendants City of Mount Vernon or County of

Westchester or Defendants Harris, Scott, McGlynn, or Gleeson or

other Defendant Officers acted upon years of credible and

relevant allegations of misconduct against Defendants Antonini

and Fegan and other narcotics officers including Defendant

Officers within the Mount Vernon Police Department and the

Westchester County Department of Public Safety.

     4.     Defendants City of Mount Vernon, County of

Westchester, Harris, Scott, McGlynn, and Gleeson ignored the

longstanding reports of misconduct by Defendants Antonini,

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Fegan, and others – including allegations that they fabricated

evidence in drug arrests; knowingly coerced false

identifications in drug arrests; protected preferred drug

dealers while targeting drug users, rivals, and others on

nothing more than the protected dealers’ say-so; misused

confidential informants to fabricate claims against innocent

people; and knowingly made false arrests of innocent people.

Moreover, rather than discipline or fire those police officers

accused of such wrongdoing, Defendants City of Mount Vernon,

County of Westchester, Harris, Scott, McGlynn, and Gleeson gave

these corrupt officers greater power and responsibility,

including by promoting them and allowing them to work on

prestigious multi-agency task forces, thereby granting them

greater access to harm the citizens of Westchester County.            Mr.

Clarke’s wrongful conviction is the predictable result of years

of inaction by those who were charged with protecting people

like him from corrupt police officers.

                       Jurisdiction and Venue

     5.   This action is brought pursuant to 42 U.S.C. §§ 1983

and 1988, and to redress the deprivation under color of law of

Plaintiff’s rights as secured by the United States Constitution

and under the laws of the State of New York.

     6.   This Court has jurisdiction of the action pursuant to

28 U.S.C. §§ 1331, 1343, and 1367.


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        7.    Venue is proper under 28 U.S.C. § 1391(b).        On

information and belief, all of the parties reside in the

Southern District of New York, and the events giving rise to the

claims asserted herein all occurred within this district.

                                   Parties
        8.    Plaintiff, Henderson Clarke, is a 43 year old African-

American man who is a lifelong resident of New Rochelle, New

York.

        9.    Defendant City of Mount Vernon is a New York municipal

corporation, duly organized and existing under and by virtue of

the laws of the State of New York, with its principal place of

business in Mount Vernon, New York.

        10.   Defendant City of Mount Vernon maintains the City of

Mount Vernon Police Department (hereinafter, “MVPD”), a duly

authorized public authority and/or police department, authorized

to perform all functions of a police department as per the

applicable sections of the aforementioned municipal corporation,

City of Mount Vernon.

        11.   Defendant Detective Camilo Antonini is a duly sworn

police officer of the MVPD at all times relevant to this action,

acting under color of law and within the scope of his employment

as a Mount Vernon police officer.

        12.   Defendant Detective Sergeant Sean J. Fegan is a duly

sworn police officer of the MVPD at all times relevant to this


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action, acting under color of law and within the scope of his

employment as a Mount Vernon police officer.

     13.   Defendant Police Officer Patrick King is a duly sworn

police officer of the MVPD at all times relevant to this action,

acting under color of law and within the scope of his employment

as a Mount Vernon police officer.

     14.   Defendant Police Officer Howard is a duly sworn police

officer of the MVPD at all times relevant to this action, acting

under color of law and within the scope of his employment as a

Mount Vernon police officer.

     15.   Defendant Police Commissioner Shawn Harris was a duly

sworn police officer of the MVPD at all times relevant to this

action, acting under color of law and within the scope of his

employment as the Mount Vernon Police Commissioner.

     16.   Defendant Police Commissioner Glenn Scott is a duly

sworn police officer of the MVPD at all times relevant to this

action, acting under color of law and within the scope of his

employment as the Mount Vernon Police Commissioner.

     17.   Unknown Defendant Officers are current and/or former

employees, officers, and/or supervisors of the Mount Vernon

Police Department who at all relevant times were acting under

color of law and within the scope of their employment.




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     18.   Defendant County of Westchester was and is a municipal

corporation duly organized and existing under and by virtue of

the laws of New York State.

     19.   Defendant County of Westchester maintains the

Westchester County Department of Public Safety (hereinafter,

“WCPDS”), a duly authorized public authority and/or police

department, authorized to perform all functions of a police

department as per the applicable sections of the aforementioned

municipal corporation, County of Westchester.

     20.   Defendant Commissioner Martin J. McGlynn was a duly

sworn police officer of the WCPDS at all times relevant to this

action, acting under color of law and within the scope of his

employment as the Westchester County Department of Public Safety

Commissioner.

     21.   Defendant Commissioner Thomas A. Gleeson is a duly

sworn police officer of the WCPD at all times relevant to this

action, acting under color of law and within the scope of his

employment as the Westchester County Department of Public Safety

Commissioner.

     22.   Unknown Defendant Officers are current and/or former

employees, officers, and/or supervisors of the WCPDS who at all

relevant times were acting under color of law and within the

scope of their employment.




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     23.   Collectively, Defendants Antonini, Fegan, King,

Howard, Harris, Scott, McGlynn, and Gleeson, and the

Unidentified MVPD and WCDPS Officers and Employees are referred

to herein as the “Defendant Officers.”       Each of the Defendant

Officers is sued in his, her, and/or their individual

capacities.

     24.   At all times hereinafter mentioned, the Defendant

Officers, either personally or through their employees, were

acting under color of state law and/or in compliance with the

official rules, regulations, laws, statutes, customs, usages,

and/or practices of the State of New York and/or the County of

Westchester and/or the City of Mount Vernon.

     25.   Each and all of the acts defendants alleged herein

were done by said defendants while acting within the scope of

their employment by Defendant City of Mount Vernon and/or

Defendant County of Westchester.

                                 Facts

  Defendants Antonini, Fegan, King, Howard and Other Defendants
     Fabricate a Crime and a False Felony Complaint Charging
         Henderson Clarke with a Crime He Did Not Commit

     26.   In July 2017, police officers from the MVPD and WCDPS

narcotics units were working together to conduct undercover drug

purchases as part of a prestigious joint task force.         The police

officers involved in this joint effort included Defendants

Antonini, Fegan, King, and Howard – all officers of the MVPD


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Narcotics Unit – and unknown officers from the MVPD and WCDPS

narcotics unit.

     27.   Defendants Antonini, Fegan, King, and Howard and other

Defendant Officers fabricated this crime out of whole cloth,

conspiring together to falsely allege and swear that on the

afternoon of July 26, 2017, Mr. Clarke sold crack cocaine to an

undercover police officer when he did not.       Each of these

Defendant Officers knew that Mr. Clarke had not sold drugs on

July 26, 2017.

     28.   This is so – because on July 26, 2017, Henderson

Clarke was in North Carolina visiting family.

     29.   Despite his absence from Mount Vernon and the County

of Westchester on July 26, 2017, Defendants Antonini, Fegan,

King, and Howard and other Defendant Officers conspired to, and

did, fabricate criminal charges against Mr. Clarke.

     30.   Specifically, Defendants Antonini, Fegan, King, and

Howard and other Defendant Officers conspired to falsely

complete and compel others to complete official documentation

supporting their fabrication that they observed Mr. Clarke sell

crack cocaine to a WCDPS undercover (one of the unnamed

Defendant Officers) in exchange for cash.       These false official

documents, including sworn police reports, included but were not

limited to detailed incident reports, evidence vouchers, and




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photocopies of cash allegedly used in the controlled drug buy

with Mr. Clarke.

     31.   These falsified official and sworn documents that

Defendants Antonini, Fegan, King, Howard, and other Defendant

Officers conspired to complete were created in order to

manufacture probable cause for Mr. Clarke’s arrest, which did

not otherwise exist due to Mr. Clarke’s innocence.

     32.   These false documents reflect the involvement of each

of Defendants Antonini, Fegan, King, and Howard and other

Defendant Officers in the fraudulent criminal charges levied

against Mr. Clarke.

     33.   In the alternative, Defendants Fegan, King, Howard,

and the other Defendant Officers were aware of Defendant

Antonini’s misconduct in falsifying documents and fabricating

Mr. Clarke’s involvement in the charged crime, but failed to

take steps to intervene to prevent this violation of Plaintiff’s

rights, despite having the opportunity to do so.

     34.   If Defendant Fegan, who was Defendant Antonini’s

supervisor, did not directly participate in framing Mr. Clarke

for a crime he did not commit, Defendant Fegan was aware that

Defendant Antonini was engaged in a pattern of falsely charging

and arresting innocent people, fabricating evidence and

falsifying official documents to support these false arrests,

hiding exculpatory evidence, and other misconduct, and did


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nothing to prevent or stop these violations in general and

specifically in the case of Mr. Clarke.

     35.   This conspiracy among Defendants Antonini, Fegan,

King, Howard, and other Defendant Officers resulted in the

creation of false and fabricated evidence, false and fabricated

sworn documents, including a false felony complaint, sworn to by

defendant Antonini and dated April 24, 2018, alleging that, on

July 26, 2017, Mr. Clarke sold “five (5) clear plastic knotted

twists [of] crack cocaine to an undercover officer in exchange

for $100.00 in United States Currency.”      This complaint charged

Mr. Clarke with violating Penal Law 220.39(1), Criminal Sale of

a Controlled Substance in the Third Degree, a B Felony.

  The Westchester District Attorney and the City of Mount Vernon
 Publicize “Operation Crackdown”, A Drug Sweep that Included the
             False Criminal Charges Against Mr. Clarke

     36.   On May 7, 2018, several weeks after the false criminal

complaint against Mr. Clarke was sworn to by defendant Antonini,

the Westchester County District Attorney’s Office issued a press

release announcing 22 arrests in a “multi-jurisdiction drug

sweep”, identifying the arrestees by name and identifying an

additional six individuals – including Henderson Clarke – who

had not yet been arrested but for whom warrants had been issued.

This press release remains on the website of the Westchester




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County District Attorney’s Office.1




      1
        See https://www.westchesterda.net/may-2018/3387-mount-vernon-police-
department-announces-arrests-in-multi-jurisdiction-drug-sweep

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      37.     In addition to the press release, former Mount Vernon

Mayor Richard Thomas held a press conference announcing the

arrests. This press conference was streamed live on Facebook and

was also replayed on local news stations. A video recording of

the press release remains online.2

      38.     During the press conference, Mayor Thomas explained

that the arrests were part of “Operation Crackdown” and were the

result of a yearlong investigation by various law enforcement

agencies, including the Mount Vernon Police Department and the

Westchester County Police Department.

      2
        See
https://www.facebook.com/watch/live/?v=601079950246470&ref=watch_permalink

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      39.   During his commentary, Mayor Thomas repeatedly

connected the low level drug transactions with which Mr.

Henderson and others were charged with acts of terrorism against

the United States, referencing the then-recent terrorist attack

on New York City’s West Side Highway that killed 8 and injured

11.   Responding to a question from the press, Mayor Thomas

explained that the drug transactions charged in Operation

Crackdown were of the type that fund terrorist activities.

      40.   Defendant Harris then explained that the arrests were

the product of a Heroin Task Force’s efforts. Henderson Clarke

was not charged with the sale of heroin or any opiate.          Upon

information and belief, none of the individuals arrested in

Operation Crackdown were charged with the sale of heroin or

other opiates.

      41.   Defendant Antonini and other Defendant Officers stood

behind Mayor Thomas and Defendant Harris while they spoke.




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     42.   These employees of Defendant City of Mount Vernon,

including Defendant Harris, publicized Mr. Clarke’s name and

likeness in connection with Operation Crackdown.        In addition to

including Mr. Clarke’s name in the Westchester District

Attorney’s press release, Mr. Clarke’s photograph was included

together with other photographs and presented on the Westchester

District Attorney’s Office website and during the live press

conference.

     43.   These false and inflammatory statements, together with

the publication of Mr. Clarke’s name and likeness in association

with these false statements and false charges, caused grave harm

to Mr. Clarke’s reputation and caused Mr. Clarke to experience

emotional distress.

  Mr. Clarke Is Falsely Arrested for a Crime He Did Not Commit

     44.   On Monday, July 23, 2019, more than a year after the

press release announcing Operation Crackdown, Mr. Clarke was

arrested in the city of White Plains.

     45.   Defendant Antonini was one of several law enforcement

officers from the Mount Vernon Police Department and other law

enforcement agencies who arrested Mr. Clarke.

     46.   Detective Antonini and unknown officers handcuffed Mr.

Clarke, thereby intentionally confining Mr. Clarke, and

transported him to Mount Vernon in an unmarked police car. At




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all times Mr. Clarke was aware of his confinement and did not

consent to it.

     47.    As is set forth elsewhere in this complaint, this

arrest lacked probable cause because Mr. Henderson had committed

no crime.   Defendants Antonini, Fegan, King, Howard, and other

Defendant Officers were aware at all times relevant to this

complaint that Mr. Clarke was innocent and that there was no

probable cause for his arrest.

     48.    At the time he was arrested, Mr. Clarke protested to

Defendant Antonini and the other arresting officers, including

other Defendant Officers, that he had committed no crime.         The

officers informed him, in substance, that he was being charged

with selling drugs to an undercover police officer.        Mr. Clarke

again asserted his innocence.     Detective Antonini told Mr.

Clarke that they had evidence proving that Mr. Clarke had sold

drugs to an undercover police officer, including audio and video

recordings proving their case against him.

     49.    Any alleged evidence supporting the charges against

Mr. Clarke was fabricated by Defendants Antonini, Fegan,

King,Howard, and other Defendant Officers.

     50.    Despite the fact that the Defendant Officers,

including Defendant Antonini, lacked any reasonable basis or

probable cause to believe that Mr. Clarke had committed any

crime or offense, the Defendant Officers, including Defendant


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Antonini, falsely arrested Mr. Clarke and transported him to the

Mount Vernon Police Department where he was processed based on

false and fabricated allegations and evidence by the defendant

officers.

     51.    Thereafter, Defendant Officers, including Defendant

Antonini, forwarded fabricated evidence to the Westchester

County District Attorney’s Office.      The Defendant Officers,

including Defendant Antonini also withheld exculpatory evidence

from the Westchester County District Attorney’s Office.

     52.    Defendants Fegan, King, Howard, and the other

Defendant Officers were aware of Defendant Antonini’s misconduct

and that his misconduct resulted in the manufacturing of

probable cause where none existed, leading inevitably to the

false arrest of Mr. Clarke, but these and other unknown

Defendant Officers failed to take steps to intervene to prevent

this violation of Plaintiff’s rights, despite having the

opportunity to do so.

     53.    Defendant Fegan, Defendant Antonini’s supervisor, was

aware that Defendant Antonini was engaged in a pattern of

falsely charging and arresting innocent people, fabricating

evidence and official documents to support these false arrests,

hiding exculpatory evidence, and other misconduct, and did

nothing to prevent or stop these violations in general and

specifically in this case.


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            Mr. Clarke is Maliciously Prosecuted for a
                      Crime He Did Not Commit

     54.   Defendants Antonini, Fegan, King,Howard, and other

Defendant Officers forwarded the false and fabricated evidence

to the Westchester County District Attorney’s Office in order

for it to be used against Mr. Clarke in the initiation and

continuation of a malicious prosecution against him.         These

Defendants also hid exculpatory evidence relating to Mr. Clarke

from prosecutors.

     55.   As is set forth elsewhere in this complaint, there was

no probable cause for commencing the proceeding.        It was only

Defendants Antonini, Fegan, King, Howard, and other Defendant

Officers’ decision to conspire to frame Mr. Clarke for a crime

he did not commit and to fabricate and falsify official reports

and evidence and to withhold and hide exculpatory evidence that

gave the appearance of probable cause to initiate and proceed

with a criminal prosecution.

     56.   Defendants Fegan, King, Howard, and the other

Defendant Officers were aware of Defendant Antonini’s misconduct

in forwarding fabricated evidence to and withholding exculpatory

evidence from the Westchester County District Attorney’s Office,

but failed to take steps to intervene to prevent this violation

of Plaintiff’s rights, despite having the opportunity to do so.




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     57.   If Defendant Fegan, who was Defendant Antonini’s

supervisor, did not directly participate in forwarding

fabricated evidence to and withholding exculpatory evidence from

the Westchester County District Attorney’s Office, Defendant

Fegan was aware that Defendant Antonini was engaged in a pattern

of falsely charging and arresting innocent people, fabricating

evidence and official documents to support these false arrests,

hiding exculpatory evidence, and other misconduct, and did

nothing to prevent or stop these violations in general and

specifically in the case of Mr. Clarke.

     58.   As a result of the illegal actions of Defendants

Antonini, Fegan, King, Howard, and other Defendant Officers, Mr.

Clarke was prosecuted for Criminal Sale of a Controlled

Substance in the Third Degree.     Mr. Clarke was presented to a

judge on Wednesday, July 25, 2019, at which time he was informed

that he would be transported for arraignment to the courthouse

in White Plains, New York.

     59.   As a result of the illegal actions of Defendants

Antonini, Fegan, King, Howard, and other Defendant Officers, Mr.

Clarke was arraigned on Thursday, July 26, 2019 on the basis of

the false felony complaint sworn to by Detective Antonini and

dated April 24, 2018.

     60.   Through counsel, Mr. Clarke entered a plea of not

guilty and informed the court that he was out of state on the


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date of the alleged offense, presenting the court with evidence

from his social media accounts showing that he was not in New

York State on the date in question.

        61.   As a result of the falsification of documents and

evidence by Defendants Antonini, Fegan, King, Howard, and other

Defendant Officers, the prosecution sought bail in the amount of

$10,000; bail was ultimately set in the amount of $5,000 on

Plaintiff’s case and Plaintiff was imprisoned at Valhalla

Correctional Facility until he was freed on bail on Friday, July

27, 2019. In total, Mr. Clarke was wrongfully incarcerated for 5

days.

        62.   Over the next five months, Mr. Clarke had

approximately six court appearances.         At each appearance, Mr.

Clarke, through counsel, asserted his innocence.

        63.   On or about September 16, 2019, Defendants Antonini,

Fegan, King, Howard, and other Defendant Officers took

affirmative steps to assure the continued malicious prosecution

against plaintiff by causing a Superseding Misdemeanor

Information to be filed against plaintiff in the Mount Vernon

City Court.     This Superseding Misdemeanor Information was also

sworn to by Defendant Antonini and based on the same conspiracy

to frame Mr. Clarke engaged in by Defendants Antonini, Fegan,

King, Howard, and other Defendant Officers, which included the

falsification of official documents and fabrication of evidence.


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     64.   The Superseding Misdemeanor Information charged Mr.

Clarke with Criminal Possession of a Controlled Substance in the

Seventh Degree, a misdemeanor.     This misdemeanor information

alleged that, on July 26, 2017, in the City of Mount Vernon, at

approximately 1:27 p.m., Mr. Clarke possessed crack cocaine.

Because Mr. Clarke was in North Carolina on July 26, 2017, and

for all of the other reasons alleged herein that the felony

complaint was false and fabricated, so too was the misdemeanor

information false and fabricated.     Likewise, for all of the

reasons set forth herein why there was no probable cause to

prosecute Mr. Clarke for a felony, there was no probable cause

to continue the prosecution or to prosecute him for a

misdemeanor.

     65.   Defendants Fegan, King, Howard, and the other

Defendant Officers were aware of Defendant Antonini’s misconduct

in forwarding fabricated evidence to and withholding exculpatory

evidence from the Westchester County District Attorney’s Office,

but failed to take steps to intervene to prevent this violation

of Plaintiff’s rights, despite having the opportunity to do so.

     66.   If Defendant Fegan, who was Defendant Antonini’s

supervisor, did not directly participate in forwarding

fabricated evidence to and withholding exculpatory evidence from

the Westchester County District Attorney’s Office, Defendant

Fegan was aware that Defendant Antonini was engaged in a pattern


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of falsely charging and arresting innocent people, fabricating

evidence and official documents to support these false arrests,

hiding exculpatory evidence, and other misconduct, and did

nothing to prevent or stop these violations in general and

specifically in the case of Mr. Clarke. On December 11, 2019,

Mr. Clarke, through counsel, formally provided the prosecution

with disclosure of his alibi witnesses.

     67.   On January 9, 2020, the prosecution finally dismissed

Mr. Clarke’s criminal case.    No discovery, including the alleged

audio and video recordings proving Mr. Clarke’s alleged

involvement in the crime, or any of the evidence required to be

disclosed by statute or the New York State or United States

Constitution, or under the Brady Rule Order previously imposed

in the case, were ever produced to Mr. Clarke.

     68.   Plaintiff was compelled to appear in court to answer

to the aforementioned fabricated and malicious charges on at

least six occasions before the charges were finally dismissed.

The charges against Mr. Clarke were ultimately dismissed because

he was innocent.

     69.   All of the above occurred as a direct result of the

unconstitutional policies, customs, or practices of the

Defendants City of Mount Vernon and County of Westchester

including, without limitation, the inadequate screening, hiring,

retaining, training, and supervising of its employees, and


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pursuant to customs or practices of falsely arresting

individuals, the falsification of evidence, and the failure to

investigate or address allegations of police misconduct and

abuse by the Defendants City of Mount Vernon and County of

Westchester.

           The Resolution of Other “Operation Crackdown” Cases

     70.   Other arrests made in connection with “Operation

Crackdown” were resolved by dismissal or by very favorable plea

deals.

    Mr. Clarke’s False Arrest and Malicious Prosecution is the
  Logical Result of Years of Unaddressed Misconduct by MVPD and
   WCDPS Officers and Employees, Including Defendants Antonini,
                         Fegan, and Others

     71.   Mr. Clarke’s false arrest and malicious prosecution is

not an isolated incident.    Defendants City of Mount Vernon and

County of Westchester have long been on notice about the illegal

misconduct of MVPD officers and employees, including Defendants

Antonini, Fegan, King, and Howard.      This illegal misconduct

includes, as here, fabricating crimes, falsifying reports,

illegally detaining individuals who have committed no crime,

hiding exculpatory evidence from prosecutors, and standing by

while innocent people are prosecuted for crimes they did not

commit.

     72.   According to the MVPD Manual, Defendants Harris and

Scott, as Commissioners of Public Safety for the City of Mount



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Vernon during the relevant period, were specifically responsible

for the “supervision, and control of the government,

administration, disposition and discipline of the Police

Department and of its officers . . .” The MVPD Manual further

provides that the Commissioner of Public Safety “is responsible

for the supervision and field operational services of the Mount

Vernon Police Department and exercise [sic] direct supervision

and control of all divisions and units . . .”; that he “shall

make, adopt, and enforce reasonable, rules, orders and

regulations not inconsistent with law. . .” and that he is

“authorized and empowered to make, adopt, promulgate and enforce

reasonable rules, orders and regulations for the government,

discipline, administration and disposition of the officers and

members of the Police Department and for the hearing,

examination, investigation, trial and determinations of charges

made prepared against any Officer or Member of said Department

for the neglect of official duty or incompetence or incapacity .

. . or some delinquency seriously affecting his general

character or fitness for the office; an[d] may in his

discretion, punish any officer or member . . .”

     73.   Defendants Gleeson and McGlynn, as Commissioners of

the Westchester County Department of Public Safety had similar

duties with respect to that agency and its officers.




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     74.   Despite these responsibilities, neither Defendant

Harris nor Defendant Scott nor Defendant Gleeson nor Defendant

McGlynn took any action to address the illegal misconduct

described herein, which was rampant during the relevant period

within the MVPD, including in joint task force operations

involving MVPD and WCDPS.

     75.   Similarly, according to the Mount Vernon Police

Department Manual, Defendants Antonini and Fegan, by virtue of

their ranks, were obligated to supervise other members of the

Mount Vernon Police Department, including Defendant Officers

named herein, and in so supervising others, ensure that their

duties were carried out legally, to “develop and improve”

individuals under their command, inspect the work of others, and

report misconduct.

     76.   Despite these responsibilities, neither Defendant

Antonini nor Defendant Fegan took any action to address the

illegal misconduct described herein, which was rampant during

the relevant period within the Mount Vernon Police Department,

including in joint task force operations involving MVPD and

WCDPS.

     77.   Defendants City of Mount Vernon and County of

Westchester were aware from numerous complaints from civilians

and police officers alike, civil rights lawsuits, notices of

claims, and other information, which were provided to Defendants


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City of Mount Vernon and County of Westchester prior to Mr.

Clarke’s arrest, that MVPD officers, including Defendants

Antonini and Fegan, as well as others within the MVPD Narcotics

Unit (of which Defendants King, Howard and other Defendant

Officers were members) and the WCDPS Narcotics Unit routinely

engaged in the type of egregious misconduct at issue here.

     78.   Specifically, these sources of information put

Defendants City of Mount Vernon and County Of Westchester on

notice that the members of the MVPD Narcotics Unit and the WCDPS

Narcotics Unit were known to have fabricated evidence, planted

narcotics, coerced false identifications, acted in a racist and

discriminatory manner, used excessive force, and generally

engaged in misconduct in other cases and arrests, or stood idly

by while their colleagues within the MVPD Narcotics Unit and the

WCDPS Narcotics Unit engaged in such misconduct.

     79.   It has therefore long been clear to Defendants City of

Mount Vernon and County of Westchester that Defendants Antonini

and Fegan, as well as others within the MVPD and WCDPS Narcotics

Unit, potentially including the other Defendant Officers, were

inadequately trained and supervised and were engaging in an

ongoing custom or practice of fabricating narcotics charges

against innocent people and then falsely arresting individuals

on these fabricated narcotics charges and conspiring to file and




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continue malicious prosecutions against innocent people,

including Mr. Clarke.

      80.   Defendants City of Mount Vernon and County of

Westchester were further aware that improper hiring, training,

supervision and other practices have often resulted in the

deprivation of civil rights for citizens, as revealed by

civilian complaints3 and civil rights lawsuits, and that this

pattern would inevitably lead to the false arrest and malicious

prosecution of a citizen like Henderson Clarke.

      81.   Pending and settled civil rights lawsuits have also

put Defendants City of Mount Vernon and County of Westchester on

notice that the above described improper training and practices

have often resulted in the deprivation of civil rights for

citizens, and that this pattern would inevitably lead to the

false arrest and malicious prosecution of a citizen like

Henderson Clarke.      Examples of these cases include, but are not

limited to:

            a. Scott v. City of Mount Vernon et al., 14 CV 4441
               (SDNY): Members of a single family alleged that
               defendant Antonini and other members of the Mount
               Vernon Police Department unlawfully entered their
               home, detained them without reason, and unlawfully
               strip searched one member of the family. This case
               was settled for $175,000.4

3
  See George Joseph, “Corruption and Brutality Allegations Against Mount
Vernon Detective Are Echoed by Civilian Complaints”, GOTHAMIST, March 11, 2020,
https://gothamist.com/news/corruption-and-brutality-allegations-against-mount-
vernon-detective-are-echoed-civilian-complaints.
       4
         Ernie Garcia, “Mount Vernon to pay $175,000 in alleged home invasion”,
LoHud.com, Aug. 16, 2017,

                                         26
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             b. Nunez v. City of Mount Vernon et al., 14 CV 08530
                (SDNY): Two brothers allege they were wrongly
                arrested and beaten by Mount Vernon Police
                Department Officers. This case was settled for
                $250,000.5

             c. Fonseca v. City of Mount Vernon et al., 5459/2013
                (N.Y. Sup.): An individual alleged false arrest,
                malicious prosecution and excessive force. This
                case was settled for $75,000.6

             d. Giles v. City of Mount Vernon et al., 20 CV
                5119(2020): Plaintiff alleges that defendant
                Antonini, together with others, framed him for a
                narcotics offense, criminal charges that were
                ultimately dismissed.

             e. Govan v. City of Mount Vernon, et al., 19 CV 8830
                (S.D.N.Y.): Plaintiff alleges that defendant
                Antonini, together with others, framed him for a
                narcotics offense, falsely arrested and maliciously
                prosecuted him, and used excessive force against
                him.

      82.    In addition, Defendants City of Mount Vernon and

County of Westchester were aware of misconduct by Defendant

Officers Antonini, Fegan and King, and others including

Defendant Officers, by complaints made by MVPD Officer Murashea

Bovell as well as from audio recordings made by Officer Bovell

in which other MVPD Officers – unaware that they were being

recorded –     recounted specific incidents of misconduct involving

Defendants Antonini, Fegan, King, and others, as well as prior

https://www.lohud.com/story/news/local/westchester/mount-
vernon/2017/08/16/strip-search/570586001/
      5
        Ernie Garcia, “Mount Vernon to pay $250k for police excessive force”,
LoHud.com, Apr. 4, 2017,
https://www.lohud.com/story/news/crime/2017/04/04/police-brutality-mount-
vernon/100026828/
      6
        Ernie Garcia, “Mount Vernon to pay $75,000 in police brutality case”,
LoHud.com, Jul. 21, 2017,
https://www.lohud.com/story/news/local/westchester/mount-
vernon/2017/07/21/police-brutality/495154001/

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complaints lodged with Defendant City of Mount Vernon about

these acts of misconduct.

     83.   These allegations of misconduct include allegations

that drugs were planted on innocent people and that undercover

officers – potentially including WCDPS officers such as the

unknown Defendant Officers – were coerced to falsely identify

known innocent suspects in narcotics “buy and bust” operations

like the one used against Mr. Clarke and others in connection

with Operation Crackdown.7       These recordings were provided to

Defendants City of Mount Vernon and County of Westchester.

     84.   Despite such notice, Defendants City of Mount Vernon

and County of Westchester have failed to take corrective action.

This failure caused the Defendant Officers in the present case

to violate Mr. Clarke’s civil rights.

     85.   Moreover, Defendants City of Mount Vernon and County

of Westchester were aware from all of these sources of notice

prior to Defendant Antonini swearing the indictment against Mr.

Clarke, based on information including but not limited to that

described above, that the Defendant Officers lacked the

objectivity, temperament, maturity, discretion, and disposition

to be employed as police officers.         Despite such notice,

      7
        See George Joseph, “The Mount Vernon Police Tapes: In Secretly
Recorded Phone Calls, Officers Say Innocent People Were Framed”, GOTHAMIST,
June 3, 2020, https://gothamist.com/news/mount-vernon-police-tapes-innocent-
people-were-framed and George Joseph, “The Mount Vernon Police Tapes: In
Secretly Recorded Calls, Officer Says Some Drug Dealers Operate with ‘Free
Reign’”, GOTHAMIST, June 18, 2020, https://gothamist.com/news/mount-vernon-
police-tapes-officer-says-some-drug-dealers-operate-with-free-reign.

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Defendants City of Mount Vernon and County of Westchester have

retained these officers, given these officers prestigious

positions including on joint task forces, promoted these

officers, and failed to adequately train and supervise them.

     86.   As a direct result of the aforementioned failures, Mr.

Clarke’s rights were violated.

     87.   All of the aforementioned acts of Defendants, their

agents, servants, and employees were carried out under the color

of state law.

     88.   The acts complained of were carried out by the

aforementioned individual defendants in their capacities as

police officers, with the entire actual and/or apparent

authority attendant thereto.

     89.   Defendants, collectively and individually, while

acting under color of state law, engaged in conduct that

constituted a custom, usage, practice procedure, or rule of the

respective municipality/authority, which is forbidden by the

Constitution of the United States.

     90.   As a result of the foregoing, Plaintiff Henderson

Clarke sustained, inter alia emotional distress, embarrassment,

humiliation, and deprivation of his constitutional rights.




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           Mount Vernon’s Policies and Widespread Practices
     91.    The constitutional violations that caused Plaintiff’s

false arrest and malicious prosecution were not isolated events.

To the contrary, they were the result of the City of Mount Vernon

and Westchester County Department of Public Safety’s policies and

widespread practices of falsely arresting innocent people,

planting and/or fabricating evidence, and falsifying police

reports and other official documents.

     92.    The constitutional violations that caused Plaintiff’s

false arrest and malicious prosecution were the result of the

City of Mount Vernon and County of Westchester’s policies and

widespread practices of failing to adequately train and supervise

MVPD and WCDPS employees on their obligations not to falsify and

plant or fabricate evidence, falsify official documents, and

falsely arrest, or maliciously prosecute individuals.

     93.    These constitutional violations were also the result of

the City of Mount Vernon and County of Westchester’s policies and

widespread practices of failing to discipline officers who

illegally strip and body cavity search detainees and arrestees,

falsify and plant evidence, fabricate and falsify official

documents, and falsely arrest, or maliciously prosecute

individuals.

     94.    The constitutional violations that caused Plaintiff’s

illegal strip and body cavity searches and the claims set forth

in this Complaint were also the result of the City’s and County’s

policies and widespread practices of failing to intervene to




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prevent individual employees from violating citizens’

constitutional rights.

     95.   In accordance with these policies and widespread

practices, City and County employees refused to report misconduct

committed by their colleagues, including the misconduct at issue

in this case.

     96.   The City and County’s failure to train, supervise, and

discipline their officers and employees effectively condones,

ratifies, and sanctions the kind of misconduct that the Defendant

Officers committed against Plaintiff in this case.

Constitutional violations such as those that occurred in this

case are encouraged and facilitated as a result of the City’s and

County’s practices and policies, as alleged above.

     97.   The City and County their employees failed to act to

remedy the abuses described in the preceding paragraphs, despite

actual knowledge of the pattern of misconduct.        They thereby

perpetuated the unlawful practices and ensured that no action

would be taken to remedy Mr. Clarke’s ongoing injuries.

     98.   The policies and practices described in the foregoing

paragraphs were consciously approved by City policymakers who

were deliberately indifferent to the violations of constitutional

rights described herein.

                         Plaintiff’s Damages
     99.   As a result of the events described herein, including

his false arrest and malicious prosecution, Mr. Clarke suffered

emotional distress, anxiety, humiliation, shame and terror, as

well as reputational harm.


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       100. Mr. Clarke is now fearful of police; he afraid that he

can be arrested and prosecuted for no reason at all.

       101. The incidents described above also caused Mr. Clarke to

become estranged from his family, including members of his family

who wrongly believed that he had committed a crime when he had

not.    This was particularly damaging because, although Mr. Clarke

had committed narcotics-related offenses when he was a younger

man, he had truthfully told family members, including his

children, that he was no longer engaged in any criminal conduct.

This arrest caused family members to doubt the veracity of this.

       102. As a result of the foregoing, Plaintiff, Henderson

Clarke, has suffered emotional, psychological, and reputational

damages, all caused by the Defendant Officers’ misconduct.

                      Count I – 42 U.S.C. § 1983
             Fourth Amendment/Illegal Search and Seizure
       103. Each Paragraph of this Complaint is incorporated as if

restated fully herein.

       104. As described in the preceding paragraphs, the conduct

of the Defendant Officers, while acting individually, jointly,
and in conspiracy with one or more persons, known and unknown, as

well as under color of law and within the scope of their

employment, violated Plaintiff’s Fourth Amendment rights in that

they seized Plaintiff without justification and without probable

cause.

       105. As described in the preceding paragraphs, the

Defendants violated Plaintiff’s Fourth Amendment rights in that




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they seized Plaintiff without justification and without probable

cause.

     106. The misconduct described in this Count was objectively

unreasonable and undertaken with malice, willfulness, and

reckless indifference to the rights of others.

     107. As a result of Defendants’ misconduct described in this

Count, Plaintiff suffered great mental anguish, humiliation,

degradation, emotional pain and suffering, loss of liberty, and

other grievous and continuing injuries and damages as set forth

above.

     108. The misconduct described in this Count was undertaken

pursuant to the policies and practices of the City of Mount

Vernon and the County of Westchester in the manner more fully

described below in Count VII.

                    Count II – 42 U.S.C. § 1983
                False Arrest/Unlawful Imprisonment

     109. Each Paragraph of this Complaint is incorporated as if

restated fully herein.

     110. As described in the preceding paragraphs, the Defendant
Officers, while acting individually, jointly, and in conspiracy

with one or more persons, known and unknown, as well as under

color of law and within the scope of their employment, falsely

arrested and unlawfully detained Henderson Clarke.

     111. The misconduct described in this Count was objectively

unreasonable and undertaken with malice, willfulness, and

reckless indifference to the rights of others.




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     112. As a result of Defendants’ misconduct described in this

Count, Plaintiff suffered great mental anguish, humiliation,

degradation, emotional pain and suffering, loss of liberty, and

other grievous and continuing injuries and damages as set forth

above.

     113. The misconduct described in this Count was undertaken

pursuant to the policies and practices of the City of Mount

Vernon in the manner more fully described below in Count VII.

                   Count III – 42 U.S.C. § 1983
                       Malicious Prosecution

     114. Each Paragraph of this Complaint is incorporated as if

restated fully herein.

     115. As described in the preceding paragraphs, the Defendant

Officers, while acting individually, jointly, and in conspiracy

with one or more persons, known and unknown, as well as under

color of law and within the scope of their employment, caused

Plaintiff to be unreasonably seized and improperly subjected to

judicial proceedings for narcotics crimes for which there was no

probable cause.   These judicial proceedings were ultimately

terminated in Plaintiff’s favor in a manner indicative of his

innocence.

     116. The misconduct described in this Count was objectively

unreasonable and undertaken with malice, willfulness, and

reckless indifference to the rights of others.

     117. As a result of Defendants’ misconduct described in this

Count, Plaintiff suffered great mental anguish, humiliation,

degradation, emotional pain and suffering, loss of liberty, and


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other grievous and continuing injuries and damages as set forth

above.

     118. The misconduct described in this Count was undertaken

pursuant to the policies and practices of the City of Mount

Vernon in the manner more fully described below in Count VII.

                    Count IV – 42 U.S.C. § 1983
                Violation of a Right to Fair Trial

     119. Each Paragraph of this Complaint is incorporated as if

fully restated herein.

     120. Defendant Officers created false evidence against

Plaintiff and withheld exculpatory evidence against Plaintiff.

     121. Defendant Officers forwarded this false evidence to,

and withheld exculpatory evidence from, the Westchester County

District Attorney’s Office to be used against Plaintiff in legal

proceedings, and it was used to perpetuate the proceedings

against him.

     122. As a result of Defendants’ creation and use of false

evidence, and withholding of exculpatory evidence, Plaintiff was

deprived of his liberty and suffered a violation of his

constitutional rights to a fair trial, as guaranteed by the

United States Constitution.

     123. The misconduct described in this Count was undertaken

with malice, willfulness, and reckless indifference to the rights

of others.

     124. The misconduct described in this Count was undertaken

by Defendants within the scope of their employment and under




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color of law such that their employers, City of Mount Vernon, are

liable for their actions.

                    Count V - 42 U.S.C. § 1983
                       Failure to Intervene

     125. Each Paragraph of this Complaint is incorporated as if

restated fully herein.

     126. In the manner described above, during the

constitutional violations described herein, one or more of the

Defendants stood by without intervening to prevent the violation

of Plaintiff’s constitutional rights, even though they had the

duty and the opportunity to do so.

     127. Defendant Officers failed to intervene to prevent the

violations of Plaintiff’s constitutional rights, including his

false arrest and malicious prosecution, as set forth in this

Complaint.

     128. The misconduct described in this Count was objectively

unreasonable, was undertaken intentionally, and in total

disregard of the truth and Plaintiff’s innocence.

     129. As a result of Defendants’ misconduct described in this

Count, Plaintiff suffered great mental anguish, humiliation,

degradation, emotional pain and suffering, loss of liberty, and

other grievous and continuing injuries and damages as set forth

above.

     130. The misconduct described in this Count was undertaken

pursuant to the policies and practices of the City of Mount

Vernon and County of Westchester in the manner more fully

described below in Count VII.


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                     Count VI – 42 U.S.C. § 1983
                      Section 1983 Monell Claim

     131. Each Paragraph of this Complaint is incorporated as if

fully restated herein.

     132. Defendants, collectively and individually, while acting

under color of state law, engaged in conduct that constituted a

custom, usage, practice, procedure or rule of the respective

municipality/authority, which is forbidden by the Constitution of

the United States.

     133. As described in detail above, the City of Mount Vernon

and County of Westchester is liable for the violation of

Plaintiff’s constitutional rights because Plaintiff’s injuries

were caused by the policies, practices, and customs of the City

of Mount Vernon and County of Westchester as well as by the

actions of policy-making officials for the City.

     134. At all times relevant to the events described in this

Complaint and for a period of time prior thereto, the City and

County had notice of a widespread practice by their officers and

agents of manufacturing false evidence, suppressing exculpatory

evidence, and instigating false criminal charges, including the

falsification of statements and reports, fabricating false

evidence to implicate defendants in criminal conduct, and

pursuing wrongful convictions.

     135. These widespread practices, individually and together,

were allowed to flourish because the leaders, supervisors, and

policymakers of the City and the County directly encouraged and

were thereby the moving force behind the very type of misconduct


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at issue by failing to adequately screen, hire, retain, train,

supervise, and control their officers, agents, and employees, and

by failing to adequately punish and discipline prior instances of

similar misconduct, thus directly encouraging future abuses such

as those affecting Plaintiff.

     136. The above widespread practices and customs, so well

settled as to constitute de facto policies of the City and the

County, were able to exist and thrive, individually and together,

because policymakers with authority over the same exhibited

deliberate indifference to the problem, thereby effectively

ratifying it.

     137. At all times relevant to the events described in this

Complaint and for a period of time prior and subsequent thereto,

the City and County failed to promulgate proper or adequate

rules, regulations, policies, and procedures for the searching of

detainees and arrestees; the collection, documentation,

preservation, testing, and disclosure of evidence; the writing of

police reports and taking of investigative notes; obtaining

statements and testimony from witnesses; and maintenance of

investigative files and disclosure of those files in criminal

proceedings.    In addition or alternatively, the City and County

failed to promulgate proper and adequate rules, regulations,

policies, and procedures for the training and supervision of

officers and agents of the City and County, with respect to these

subjects.




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     138. These failures to promulgate proper or adequate rules,

regulations, policies, and procedures were committed by officers

and agents of the City and County.

     139. In addition, the misconduct described in this Count was

undertaken pursuant to the policies and practices of the City and

County in that the constitutional violations committed against

Plaintiff were committed with the knowledge or approval of

persons with final policymaking authority for the City and County

or were actually committed by persons with such final

policymaking authority.

     140. As a result of the policies and practices of the City

and County, numerous individuals have been illegally and

intrusively searched and wrongly prosecuted and imprisoned for,

as well as convicted of, crimes that they did not commit.

     141. Plaintiff’s injuries were directly and proximately

caused by officers, agents, and employees of the City and County,

including but not limited to the individually named Defendants,

who acted pursuant to one or more of the policies, practices, and

customs set forth above in engaging in the misconduct described

in this Count.

                   Count VII – 42 U.S.C. § 1983
                       Supervisory Liability

     142. Each Paragraph of this Complaint is incorporated as if

fully restated herein.

     143. Defendants Harris, Scott, McGlynn, and Gleeson, and

other unidentified supervisory MVPD and WCDPS employees and

officers personally caused Plaintiff’s constitutional injury by


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being deliberately or consciously indifferent to the rights of

others in failing to properly supervise and train their

subordinate employees.

     144. As a result of the misconduct described in this Count,

Plaintiff has suffered damages, including but not limited to

emotional distress and anguish.

  Supplemental State Law Claims Against Defendant City of Mount
              Vernon and MVPD Individual Defendants

     145. Each Paragraph of this Complaint is incorporated as if

fully stated herein.

     146. Within the time set forth by law, Plaintiff duly served

upon, presented to and filed with the City of Mount Vernon, a

Notice of Claim setting forth all facts and information required

under the General Municipal Law 50-e.

     147. More than 30 days have elapsed since Plaintiff’s 50-h

hearing and the City of Mount Vernon has made no offer of an

adjustment or payment thereof.

     148. Plaintiff has complied with all conditions precedent to

maintaining the instant action.

     149. This action falls within one or more of the exceptions

as outlined in C.P.L.R. 1602.

                 Count VIII – New York State Law
                      Malicious Prosecution

     150. Each Paragraph of this Complaint is incorporated as if

fully restated herein.

     151. The Defendant MVPD Officers initiated, commenced, and

continued a malicious prosecution against Plaintiff.



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     152. Defendant City of Mount Vernon, as employer of the

individually named Defendant Officers, is responsible for their

wrongdoing under the doctrine of respondeat superior.

     153. MVPD Defendants caused Plaintiff to be prosecuted

without probable cause until the charges were resolved in

Plaintiff’s favor in criminal court on or about January 21, 2020.

     154. MVPD Defendants caused Plaintiff to be prosecuted

without probable cause until the charges were resolved in

Plaintiff’s favor in criminal court on or about January 21, 2020.

                    Count IX – New York State Law
            Intentional Infliction of Emotional Distress

     155. Each Paragraph of this Complaint is incorporated as if

fully restated herein.

     156. The individual MVPD defendants intentionally and/or

recklessly, and in breach of their duties owed to Plaintiff,

directly and proximately caused Plaintiff to be illegally

searched, falsely arrested, maliciously prosecuted, and wrongly

imprisoned.

     157. The MVPD Defendant Officers caused Plaintiff to suffer

harm, including fear for his physical safety and emotional

distress.

                    Count XIV – New York State Law
              Negligent Screening, Hiring, and Retention

     158. Each Paragraph of this Complaint is incorporated as if

fully restated herein.

     159. Upon information and belief, Defendant City of Mount

Vernon failed to use reasonable care in the screening, hiring and

retention of the aforesaid defendants who illegally searched,

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falsely arrested, manufactured evidence against, and maliciously

prosecuted Plaintiff.

     160. Defendant City of Mount Vernon knew, or should have

known in the exercise of reasonable care, the propensities of the

Defendant Officers to engage in the wrongful conduct heretofore

alleged in this Complaint.

                   Count XV – New York State Law
                Negligent Training and Supervision
     161. Each Paragraph of this Complaint is incorporated as if

fully restated herein.

     162. Defendant City of Mount Vernon failed to use reasonable

care in the training and supervision of the aforesaid Defendants,

who illegally searched, falsely arrested, manufactured evidence

against, and maliciously prosecuted the plaintiff.

                  Count XVI – New York State Law
                   Respondeat Superior Liability
     163. Each Paragraph of this Complaint is incorporated as if

fully restated herein.

     164. The MVPD Defendants were at all times material to this
complaint as employees of the Mount Vernon Police Department, and

acted within the scope of their employment in committing the

misconduct described above.

     165. The MVPD Defendants’ tortious conduct was undertaken

while carrying out routine investigative functions.        The conduct

was reasonably expected by, and in fact foreseen by, Defendants’

employer.

     166. Defendant City of Mount Vernon is liable as principal
for all intentional torts committed by its agents.

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     WHEREFORE, Plaintiff, HENDERSON CLARKE, respectfully

requests that this Court enter judgment in his favor and against

Defendants, CITY OF MOUNT VERNON, COUNTY OF WESTCHESTER, CAMILO

ANTONINI, SEAN J. FEGAN, PATRICK KING, P.O. HOWARD; SHAWN

HARRIS; GLENN SCOTT; MARTIN J. MCGLYNN; THOMAS A. GLEESON; and

unknown Mount Vernon Police Department and Westchester County

Department of Public Safety employees and officers, awarding

compensatory damages and attorneys’ fees, as well as punitive

damages against the Defendant Officers in their individual

capacities, as well as any other relief this Court deems just

and appropriate.



                             JURY DEMAND

     Plaintiff Henderson Clarke hereby demands a trial by jury

pursuant to Federal Rule of Civil Procedure 38(b) on all issues

so triable.



                                      RESPECTFULLY SUBMITTED,


                                      /s/ Karen A. Newirth
                                      LOEVY & LOEVY
                                      Attorneys for Plaintiff
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                                      Chicago, IL 60607
                                      (718) 490-0028




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